Case 2:19-cv-06093-CJC-JPR        Document 1   Filed 07/16/19   Page 1 of 7 Page ID #:1




   1     CENTER FOR DISABILITY ACCESS
         Ray Ballister Jr., Esq., SBN 111282
   2     Phyl Grace, Esq., SBN 171771
         Russell Handy, Esq., SBN 195058
   3     Dennis Price, Esq., SBN 279082
         Mail: PO Box 262490
   4     San Diego, CA 92196-2490
         Delivery: 9845 Erma Road, Suite 300
   5     San Diego, CA 92131
         (858) 375-7385; (888) 422-5191 fax
   6     phylg@potterhandy.com
   7     Attorneys for Plaintiff
   8
   9
  10                             UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
  11
  12
         Brian Whitaker,                           Case No.
  13
                   Plaintiff,
  14                                               Complaint For Damages And
           v.                                      Injunctive Relief For Violations
  15                                               Of: American’s With Disabilities
         Mersho Investments LLC, a                 Act; Unruh Civil Rights Act
  16     California Limited Liability
         Company;
  17     Nice Kicks Holdings LLC, a Texas
         Limited Liability Company; and
  18     Does 1-10,
  19               Defendants.
  20
  21         Plaintiff Brian Whitaker complains of Mersho Investments LLC, a
  22   California Limited Liability Company; Nice Kicks Holdings LLC, a Texas
  23   Limited Liability Company; and Does 1-10 (“Defendants”), and alleges as
  24   follows:
  25
  26
         PARTIES:
  27
         1. Plaintiff is a California resident with physical disabilities. He is
  28
       substantially limited in his ability to walk. He suffers from a C-4 spinal cord

                                               1

       Complaint
Case 2:19-cv-06093-CJC-JPR     Document 1      Filed 07/16/19   Page 2 of 7 Page ID #:2




   1   injury. He is a quadriplegic. He uses a wheelchair for mobility.
   2     2. Defendant Mersho Investments LLC owned the real property located at
   3   or about 862 S. Main Street, Los Angeles, California, in June 2019.
   4     3. Defendant Mersho Investments LLC owns the real property located at
   5   or about 862 S. Main Street, Los Angeles, California, currently.
   6     4. Defendant Nice Kicks Holdings LLC owned Nice Kicks located at or
   7   about 862 S. Main Street, Los Angeles, California, in June 2019.
   8     5. Defendant Nice Kicks Holdings LLC owns Nice Kicks (“Store”) located
   9   at or about 862 S. Main Street, Los Angeles, California, currently.
  10     6. Plaintiff does not know the true names of Defendants, their business
  11   capacities, their ownership connection to the property and business, or their
  12   relative responsibilities in causing the access violations herein complained of,
  13   and alleges a joint venture and common enterprise by all such Defendants.
  14   Plaintiff is informed and believes that each of the Defendants herein,
  15   including Does 1 through 10, inclusive, is responsible in some capacity for the
  16   events herein alleged, or is a necessary party for obtaining appropriate relief.
  17   Plaintiff will seek leave to amend when the true names, capacities,
  18   connections, and responsibilities of the Defendants and Does 1 through 10,
  19   inclusive, are ascertained.
  20
  21     JURISDICTION & VENUE:
  22     7. The Court has subject matter jurisdiction over the action pursuant to 28
  23   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
  24   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
  25     8. Pursuant to supplemental jurisdiction, an attendant and related cause
  26   of action, arising from the same nucleus of operative facts and arising out of
  27   the same transactions, is also brought under California’s Unruh Civil Rights
  28   Act, which act expressly incorporates the Americans with Disabilities Act.


                                              2

       Complaint
Case 2:19-cv-06093-CJC-JPR       Document 1      Filed 07/16/19     Page 3 of 7 Page ID #:3




   1     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
   2   founded on the fact that the real property which is the subject of this action is
   3   located in this district and that Plaintiff's cause of action arose in this district.
   4
   5     FACTUAL ALLEGATIONS:
   6     10. Plaintiff went to the Store in June 2019 with the intention to avail
   7   himself of its goods, motivated in part to determine if the defendants comply
   8   with the disability access laws.
   9     11. The Store is a facility open to the public, a place of public
  10   accommodation, and a business establishment.
  11     12. Paths of travel are one of the facilities, privileges, and advantages
  12   offered by Defendants to patrons of the Store.
  13     13. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
  14   to provide accessible paths of travel leading into and inside the Store.
  15     14. Currently, the defendants fail to provide accessible paths of travel
  16   leading into and inside the Store.
  17     15. Plaintiff personally encountered these barriers.
  18     16. By failing to provide accessible facilities, the defendants denied the
  19   plaintiff full and equal access.
  20     17. The failure to provide accessible facilities created difficulty and
  21   discomfort for the Plaintiff.
  22     18. The defendants have failed to maintain in working and useable
  23   conditions those features required to provide ready access to persons with
  24   disabilities.
  25     19. The barriers identified above are easily removed without much
  26   difficulty or expense. They are the types of barriers identified by the
  27   Department of Justice as presumably readily achievable to remove and, in fact,
  28   these barriers are readily achievable to remove. Moreover, there are numerous


                                                 3

       Complaint
Case 2:19-cv-06093-CJC-JPR       Document 1       Filed 07/16/19    Page 4 of 7 Page ID #:4




   1   alternative accommodations that could be made to provide a greater level of
   2   access if complete removal were not achievable.
   3     20. Plaintiff will return to the Store to avail himself of its items and to
   4   determine compliance with the disability access laws once it is represented to
   5   him that the Store and its facilities are accessible. Plaintiff is currently deterred
   6   from doing so because of his knowledge of the existing barriers and his
   7   uncertainty about the existence of yet other barriers on the site. If the barriers
   8   are not removed, the plaintiff will face unlawful and discriminatory barriers
   9   again.
  10     21. Given the obvious and blatant nature of the barriers and violations
  11   alleged herein, the plaintiff alleges, on information and belief, that there are
  12   other violations and barriers on the site that relate to his disability. Plaintiff will
  13   amend the complaint, to provide proper notice regarding the scope of this
  14   lawsuit, once he conducts a site inspection. However, please be on notice that
  15   the plaintiff seeks to have all barriers related to his disability remedied. See
  16   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
  17   encounters one barrier at a site, he can sue to have all barriers that relate to his
  18   disability removed regardless of whether he personally encountered them).
  19
  20   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
  21   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
  22   Defendants.) (42 U.S.C. section 12101, et seq.)
  23     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
  24   again herein, the allegations contained in all prior paragraphs of this
  25   complaint.
  26     23. Under the ADA, it is an act of discrimination to fail to ensure that the
  27   privileges, advantages, accommodations, facilities, goods and services of any
  28   place of public accommodation is offered on a full and equal basis by anyone


                                                 4

       Complaint
Case 2:19-cv-06093-CJC-JPR     Document 1         Filed 07/16/19    Page 5 of 7 Page ID #:5




   1   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
   2   § 12182(a). Discrimination is defined, inter alia, as follows:
   3            a. A failure to make reasonable modifications in policies, practices,
   4               or procedures, when such modifications are necessary to afford
   5               goods,     services,      facilities,   privileges,   advantages,   or
   6               accommodations to individuals with disabilities, unless the
   7               accommodation would work a fundamental alteration of those
   8               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
   9            b. A failure to remove architectural barriers where such removal is
  10               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
  11               defined by reference to the ADA Standards.
  12            c. A failure to make alterations in such a manner that, to the
  13               maximum extent feasible, the altered portions of the facility are
  14               readily accessible to and usable by individuals with disabilities,
  15               including individuals who use wheelchairs or to ensure that, to the
  16               maximum extent feasible, the path of travel to the altered area and
  17               the bathrooms, telephones, and drinking fountains serving the
  18               altered area, are readily accessible to and usable by individuals
  19               with disabilities. 42 U.S.C. § 12183(a)(2).
  20     24. When a business provides facilities such as paths of travel, it must
  21   provide accessible paths of travel.
  22     25. Here, accessible paths of travel have not been provided.
  23     26. The Safe Harbor provisions of the 2010 Standards are not applicable
  24   here because the conditions challenged in this lawsuit do not comply with the
  25   1991 Standards.
  26     27. A public accommodation must maintain in operable working condition
  27   those features of its facilities and equipment that are required to be readily
  28   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).


                                                 5

       Complaint
Case 2:19-cv-06093-CJC-JPR      Document 1      Filed 07/16/19    Page 6 of 7 Page ID #:6




   1      28. Here, the failure to ensure that the accessible facilities were available
   2   and ready to be used by the plaintiff is a violation of the law.
   3
   4   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
   5   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
   6   Code § 51-53.)
   7      29. Plaintiff repleads and incorporates by reference, as if fully set forth
   8   again herein, the allegations contained in all prior paragraphs of this
   9   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
  10   that persons with disabilities are entitled to full and equal accommodations,
  11   advantages, facilities, privileges, or services in all business establishment of
  12   every kind whatsoever within the jurisdiction of the State of California. Cal.
  13   Civ. Code §51(b).
  14      30. The Unruh Act provides that a violation of the ADA is a violation of the
  15   Unruh Act. Cal. Civ. Code, § 51(f).
  16      31. Defendants’ acts and omissions, as herein alleged, have violated the
  17   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
  18   rights to full and equal use of the accommodations, advantages, facilities,
  19   privileges, or services offered.
  20      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
  21   discomfort or embarrassment for the plaintiff, the defendants are also each
  22   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
  23   (c).)
  24
  25
  26
  27
  28


                                                6

       Complaint
Case 2:19-cv-06093-CJC-JPR     Document 1     Filed 07/16/19    Page 7 of 7 Page ID #:7




   1          PRAYER:
   2          Wherefore, Plaintiff prays that this Court award damages and provide
   3   relief as follows:
   4       1. For injunctive relief, compelling Defendants to comply with the
   5   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
   6   plaintiff is not invoking section 55 of the California Civil Code and is not
   7   seeking injunctive relief under the Disabled Persons Act at all.
   8       2. Damages under the Unruh Civil Rights Act, which provides for actual
   9   damages and a statutory minimum of $4,000 for each offense.
  10       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
  11   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
  12
       Dated: July 11, 2019             CENTER FOR DISABILITY ACCESS
  13
  14
                                        By:
  15
  16                                    ______________________________

  17                                           Russell Handy, Esq.
                                               Attorney for plaintiff
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28


                                              7

       Complaint
